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 6                           IN THE UNITED STATES DISTRICT COURT
 7                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                 )        Case №:2:12-cr-00185 TLN
                                               )
10                  Plaintiff,                 )                    ORDER
                                               )               APPOINTING COUNSEL
11           vs.                               )
                                               )
12   ROBB CHEAL,                               )
                                               )
13                  Defendant.                 )
                                               )
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15
            The Federal Defender was relieved in court on November 29, 2018. CJA Panel attorney
16
     Michael Long is hereby appointed effective December 3, 2018, the date the Office of the Federal
17
     Defender first contacted him.
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19   Dated: December 5, 2018
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22                                   Troy L. Nunley
                                     United States District Judge
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     ORDER APPOINTING COUNSEL                       1
